           Case 7:24-cr-00012-TTC-CKM                   Document 5           Filed 04/11/24       Page 1 of 1              Pageid#:
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                      WesternDistrict
                                                 __________  District of
                                                                      of Virginia
                                                                         __________

                  United States of America
                             v.                                      )
            JOSEPH RICHARD WALKER                                    )        Case No.    7:24CR00012-1
                   a/k/a "Joe"                                       )
   (FILED AS DETAINER WITH WESTERN VIRGINIA                          )
                 REGIONAL JAIL )                                     )
                                                                     )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Joseph Richard Walker                                                                                ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment           u Information       u Superseding Information             u Complaint
u Probation Violation Petition              u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  21:841(a)(1) & (b)(1)(c) and 846-Conspiracy to distribute & Possess w/intent to dist marijuana
  18:2 &18:1951(a)-Conspiracy & Robbery
  18:924(c)(1)(A)-Firearm used in crime of violence
  18:1951(a)-Conspiracy to interfere with commerce by thrats or violence
  18:922(g)(1)-Prohibited person in poss'n of firearm
  18:844(i)- Maliciously destroy vehicle by fire


Date:         04/11/2024                                                                                      , Courtroom Deputy
                                                                                            Issuing officer’s signature

City and state:       Roanoke, Virginia                                      C. Kailani Memmer, United States Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
